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                         UNITED STATES DISTRICT COURT
                     IN THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

AUTOMOTIVE COMPONENTS                          Case No. 2:12-cv-10762-AJT-RSW
HOLDINGS, LLC and FORD MOTOR
COMPANY,                                       Hon. Arthur J. Tarnow

             Plaintiffs,                       Magistrate Judge R. Steven Whalen
v.

KONAL ENGINEERING AND
EQUIPMENT, INC.,

             Defendant.

James P. Feeney (P13335)                       Peter M. Alter (P10145)
Thomas S. Bishoff (P53753)                     R. Christopher Cataldo (P39353)
Thomas H. Trapnell (P74345)                    David J. Poirier (P62928)
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     PLAINTIFFS’ MOTION FOR RECONSIDERATION OF THE COURT’S ORDER
              DISMISSING COUNT I OF PLAINTIFFS’ COMPLAINT
                     FOR FAILURE TO STATE A CLAIM
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         Plaintiffs Automotive Components Holdings, LLC (“ACH”) and Ford Motor Company

(“Ford”) (jointly “Plaintiffs”), by their counsel, Dykema Gossett PLLC, respectfully request that

the Court reconsider its Opinion and Order of October 16, 2012, granting in part and denying in

part Defendant Konal Engineering and Equipment, Inc.’s (“Konal”) Motion for Partial

Dismissal, with respect to the Court’s dismissal of Plaintiffs’ claim for fraud in the inducement

(Count I).

         Counsel for Plaintiffs sought Konal’s concurrence in the relief requested in this motion

on October 25, 2012, but concurrence was not obtained.

         In support of this Motion, Plaintiffs rely upon the Brief in Support filed

contemporaneously herewith.

         WHEREFORE, Plaintiffs respectfully request that the Court reconsider its Opinion and

Order of October 16, 2012, enter an order denying Konal’s Motion for Partial Dismissal as to

Count I of Plaintiffs’ Complaint, and grant such other relief as the Court deems appropriate and

just.




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Date: October 30, 2012                      Respectfully submitted,

                                            DYKEMA GOSSETT PLLC


                                       By:/s/ Thomas H. Trapnell
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                         UNITED STATES DISTRICT COURT
                     IN THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

AUTOMOTIVE COMPONENTS                     Case No. 2:12-cv-10762-AJT-RSW
HOLDINGS, LLC and FORD MOTOR
COMPANY,                                  Hon. Arthur J. Tarnow

             Plaintiffs,                  Magistrate Judge R. Steven Whalen
v.

KONAL ENGINEERING AND
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             Defendant.

James P. Feeney (P13335)                  Peter M. Alter (P10145)
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BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR RECONSIDERATION OF THE
    COURT’S ORDER DISMISSING COUNT I OF PLAINTIFFS’ COMPLAINT
                   FOR FAILURE TO STATE A CLAIM
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                          STATEMENT OF ISSUES PRESENTED

I.       Whether the Court should reconsider its Order dismissing Plaintiffs’ claim for fraud in
the inducement because the case law cited by the Court in support of its ruling does not, in
reality, require Plaintiffs to plead misrepresentations which are “completely independent” of,
“tangential” to, or not “directly relevant” to performance under the related contract in order to
state a claim for fraud in the inducement against Konal?

Plaintiffs answer: Yes.

II.    Whether the Court should reconsider its Order dismissing Plaintiffs’ claim for fraud in
the inducement because in so ruling, the Court did not consider numerous other authorities,
including many of the authorities cited by Plaintiffs, which make clear that a claim for fraud in
the inducement need not be premised on alleged misrepresentations which are “completely
independent” of, “tangential” to, or not “directly relevant” to performance under the related
contract?

Plaintiffs answer: Yes.

III.   Whether the Court should reconsider its Order dismissing Plaintiffs’ claim for fraud in
the inducement because it did not hear oral argument on the legal and factual bases of Plaintiffs’
fraud claim, and was therefore misled by Konal’s misrepresentations of Plaintiffs’ claim in
Konal’s briefing of its motion to dismiss?

Plaintiffs answer: Yes.

IV.    Whether the Court should reconsider its Order dismissing Plaintiffs’ claim for fraud in
the inducement because at the Court’s direction, Plaintiffs have prepared a marked-up version of
one of Konal’s sales presentations which demonstrates that Konal made numerous pre-
contractual fraudulent representations to Plaintiffs which are indeed “completely independent” of
Konal’s later breaches of warranties?

Plaintiffs answer: Yes.




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                     STATEMENT OF CONTROLLING AUTHORITY

       In support of their Motion for Reconsideration, Plaintiffs rely upon Huron Tool & Eng.

Co. v. Precision Consulting Servs., Inc., 209 Mich. App. 365, 532 N.W.2d 541 (1995), Ypsilanti

Cmty. Utils. Auth. v. Meadwestvaco Air Sys., LLC, 678 F. Supp. 2d 553 (E.D. Mich. 2009), and

the additional authorities cited in the accompanying Brief in Support.




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                                        INTRODUCTION

       The Court should reconsider its order of October 16, 2012 (the “Order,” Dkt. 45),

dismissing the claim for fraud in the inducement (Count I) filed by Plaintiffs Automotive

Components Holdings, LLC (“ACH”) and Ford Motor Company (“Ford”) (jointly, “Plaintiffs”)

against Defendant Konal Engineering and Equipment, Inc. (“Konal”). There are several reasons

for the Court to reconsider its Order and deny Konal’s motion (the “Motion”) to dismiss this

claim. First, by their plain language, neither of the two cases the Court relied upon actually

support the propositions for which they are cited in the Order. Contrary to the Court’s reasoning,

a plaintiff does not need to make allegations of fraud which are “tangential” to, “completely

independent” of, or not “directly relevant to” the subject matter of the related contract in order to

state a claim for fraud in the inducement. Second, the Order does not take into account the other

cases cited by Plaintiffs in support of their fraud claim, which make clear that fraud in the

inducement provides redress when a buyer is tricked into contracting by a seller’s prior, extra-

contractual representations, even when those representations directly relate to the seller’s ability

to perform under the contract. Finally, prior to entering the Order, the Court did not hear oral

argument on the basis of Plaintiffs’ fraud claim, or consider documents which the Court directed

Plaintiffs to provide in support of their fraud claim. As a result, the Court was misled by Konal’s

mischaracterization of Plaintiffs’ allegations in support of Count I.        For these reasons, as

described in more detail below, Plaintiffs respectfully request that the Court reconsider its Order,

and enter an order denying Konal’s Motion to dismiss Plaintiffs’ claim for fraud in the

inducement.




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                                    STATEMENT OF FACTS

A.     Konal Makes a Series of Either Knowingly or Recklessly False Statements During
       Sales Pitches to ACH.

       The series of events giving rise to this lawsuit began with ACH’s issuance of several

requests for quotes for cast skin systems in the first quarter of 2009. (Dkt. 1, Compl., ¶ 9). ACH

entered into discussions with several companies, including Konal, who reportedly had

experience in manufacturing cast skin systems.          Id.   During these discussions, Konal

aggressively marketed itself to ACH as a well-established designer and builder of machinery

used to manufacture a wide range of automotive interior components. See Dtk. 1, Ex. B to

Compl., Sales Presentation, pp. 1-4, 8. Konal emphasized the proven nature of its technology,

the satisfaction of its current customers, and the wide range of customer support services it could

offer ACH. Id., pp. 9-11, 38, 44.

       Konal was not the only company which ACH could have chosen as a supplier of cast skin

systems.   As reflected in Konal’s sales pitches, several other companies design and build

machinery for manufacturing cast skins. Id., pp. 43-46. Nevertheless, Konal convinced ACH

that its level of general automotive interiors manufacturing experience was comparable to that of

its competitors, that Konal could provide better long-term support than other industry players,

and that Konal’s personnel were capable of ongoing innovation and improvement in their

manufacturing processes beyond the specific cast skin technology being marketed to ACH.

       Relying on Konal’s pre-contractual representations, ACH selected Konal as its supplier

of cast skin systems, and prepared engineering specifications and purchase orders for Konal.

(Dkt. 1, Compl., ¶¶ 22-28). These specifications and purchase orders did not require Konal to

somehow confirm its purported status as a well-established, experienced manufacturer of


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machinery for automotive interiors, or to exceed its competitors’ manufacturing abilities,

customer service, or future capabilities for technological innovations. Nor did the engineering

specifications and purchase orders require Konal to verify that it possessed basic engineering

know-how suitable for designing and building complex machinery.                 The engineering

specifications and warranties in the purchase orders merely required Konal’s cast skin systems to

satisfy requirements such as adequate jobs-per-hour, machine cycle time, and workmanship,

independent of the design or specific operational processes of the cast skin systems

themselves.

B.     Plaintiffs Learn That Konal’s Sales Pitches Intentionally Misrepresented Konal’s
       Experience and Organizational Capabilities.

       Shortly after the deliveries of Konal’s cast skin systems to ACH (“System One” and

“System Two” respectively), ACH learned that Konal’s sales presentations had severely

diverged from reality. First, at the time of making its sales pitches, Konal had nowhere near the

level of general engineering experience or expertise it had described to ACH. (Dkt. 1, Compl.,

¶ 50). Nor had Konal achieved high levels of customer satisfaction; ACH discovered that one of

Konal’s earlier machines had already been scrapped by the customer after it presented

unsolvable operational and design flaws. Id., ¶ 48. Moreover, in addition to production and

operational shortcomings covered by warranties, the basic sloppiness of Konal’s design and

construction of System One and System Two made clear that at the time of its sales pitches,

Konal was incompetent to manufacture any kind of complex industrial machinery, whether for

the manufacture of cast skins or any other purpose. Id., ¶ 50. To make matters worse, contrary

to Konal’s pre-contractual representations, Konal’s personnel lacked the basic engineering

know-how to find root causes of machine failures and devise solutions. Id., ¶ 21. In short, ACH


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learned that not only did Konal’s System One and System Two fail to confirm to the character

and quality demanded by ACH as reflected in the engineering specifications and purchase orders,

but Konal had misrepresented its basic organizational characteristics as an experienced,

competent machine builder and designer in order to induce ACH to contract with it.

C.      Konal Moves to Dismiss Plaintiffs’ Claim for Fraud in the Inducement, Based on
        Misrepresentations of Plaintiffs’ Allegations.

        Plaintiffs filed this lawsuit against Konal on February 20, 2012. Count I of Plaintiffs’

Complaint presented a claim for fraud in the inducement, based on Konal’s misrepresentations

described above.

        Konal filed its Motion on April 4, 2012. Among other relief, the Motion sought dismissal

of ACH’s Count I on the basis of the economic loss doctrine. (Dkt. 12, pp. 8-13).

Notwithstanding the Complaint’s allegations as to Konal’s extra-contractual representations

during its marketing efforts, Konal claimed that “Plaintiffs have failed to allege any wrongdoing

by Konal independent of the alleged breach of a supposed contract or warranty.” Id., p. 13.

Konal’s reply brief in support of this Motion contained a lengthy chart which purported to

summarize Plaintiffs’ allegations of fraud in the inducement, all of which Konal re-characterized

as either “[s]tatement[s] of opinion. Not actionable,” or “[a]llegations go to the resulting quality

of the goods manufactured by Konal. Warranty claim.” (Dkt. 19, pp. 3-5) (emphasis in

original).

D.      The Court Dismisses Count I of Plaintiffs’ Complaint, Without Hearing Oral
        Argument on Plaintiffs’ Fraud in the Inducement Claim.

        The Court heard oral argument on Konal’s Motion on August 21, 2012. The Court asked

the parties to address the issue of which aspects of Konal’s sales presentations Plaintiffs

contended to be actionable statements of alleged fact, as opposed to statements of opinion. (Ex.

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A, Transcript, pp 8-9). The Court directed Plaintiffs to provide Konal with a marked-up version

of the Konal sales presentation attached to the Complaint, designating which statements

Plaintiffs considered to be statements of alleged fact and statements of opinion. Id., pp. 7-8.

After this discussion, the Court directed the parties to address different aspects of Konal’s

Motion. As a result, Plaintiffs never had the opportunity to inform the Court of the serious

discrepancies between Konal’s mischaracterizations of Plaintiffs’ fraud allegations, and

Plaintiffs’ actual statements in the Complaint.

       After the hearing, Plaintiffs provided Konal with their mark-up of the sales presentation,

as directed by the Court. (Ex. B). As this presentation makes clear, Konal made numerous

statements of alleged fact during the marketing process which had nothing to do with the

warranties governing System One and System Two: (1) representations of Konal’s wide range of

automotive manufacturing experience; (2) the high degree of satisfaction of Konal’s prior

customers; (3) Konal’s customer service capabilities; and (4) Konal’s ability to implement

manufacturing innovations in the future to enhance ACH’s manufacturing abilities. Id. The

Court did not consider this presentation or ask Plaintiffs to explain their contentions prior to

issuing the Order.

        On October 16, 2012, the Court issued its Order denying Konal’s Motion as to all

aspects of Plaintiffs’ Complaint other than Plaintiffs’ claim for fraud in the inducement. The

Court dismissed Plaintiffs’ claim for fraud in the inducement, however. The Court found that

although “Plaintiffs argue that their fraud claims are premised on Konal’s general boasts

regarding their automotive engineering and cast skin system design . . . [t]he Court does not find

this argument persuasive. It is fairly clear that Konal’s claims were directly relevant to their

provision of Systems 1 and 2 in the contract.” (Dkt. 45, p. 4).

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       In reaching this conclusion, the court relied on Ypsilanti Cmty. Utils. Auth. v.

Meadwestvaco Air Sys., LLC, 678 F. Supp. 2d 553 (E.D. Mich. 2009), and Huron Tool & Eng.

Co. v. Precision Consulting Servs., Inc., 209 Mich. App. 365, 532 N.W.2d 541 (1995). With

respect to Ypsilanti, the Court held that the fraud in the inducement claim of the buyer in that

case was based on the seller’s claims that it “(1) was backed by an $8 billion dollar company; (2)

that the company stood behind [the seller]; (3) that [the seller] was backed and supported by a

research department and a technical group; (4) that [the seller] was insured by [the larger

company]; (5) that [the seller] was part of a partnership in which [the larger company] was the

only general partner; (6) that [the seller] was a publicly traded company on the NYSE; (7) that

[the seller] was a division of the worldwide [larger company].” Id., p. 4. The Court held that

these factors show that “case law requires much more tangential information to constitute fraud

in the inducement.” Id.

       The Court held that the reasoning of the Huron court applied to Plaintiffs’ Count I, rather

than the reasoning of Ypsilanti. Id. The Court found that Plaintiffs’ fraud allegations were “a

classic ‘fraud interwoven with the breach of contract,’ which falls outside the fraud in the

inducement exception [to the economic loss doctrine],” instead of “completely independent

claims regarding, for instance, the involvement of a larger corporation.” Id., p. 5. Plaintiffs now

move for reconsideration of the Court’s ruling on this issue, as it is not supported by case law or

the allegations in Plaintiffs’ Complaint.




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                                            ARGUMENT

I.        STANDARD OF REVIEW.

          A motion for reconsideration is governed by Local Rule 7.1(h). LR 7.1(h) provides as

follows:

                 Generally, and without restricting the court’s discretion, the court
                 will not grant motions for rehearing or reconsideration that merely
                 present the same issues ruled upon by the court, either expressly or
                 by reasonable implication. The movant must not only demonstrate
                 a palpable defect by which the court [has] been misled but also
                 show that correcting the defect will result in a different disposition
                 of the case. [LR 7.1(h)(3)].

          A “palpable defect” is a defect that is obvious, clear, unmistakable, manifest or plain.”

Scozzari v. City of Claire, 723 F. Supp. 2d 974, 981-82 (E.D. Mich. 2010) (citations omitted).

“A motion for reconsideration addresses only factual and legal matters that the Court may have

overlooked.” Carter v. Robinson, 211 F.R.D. 549, 550 (E.D. Mich. 2003) (citation omitted).

Further, “[c]ourts will generally entertain a motion for reconsideration only when there has been

an intervening change in the law, when new evidence has become available, or when there is a

need to correct a clear error or prevent manifest injustice.” Id. (citation omitted) (emphasis

added).

II.       THE ORDER CITES HURON TOOL AND YPSILANTI FOR LEGAL
          PROPOSITIONS WHICH THOSE OPINIONS’ PLAIN LANGUAGE DOES NOT
          SUPPORT.

          The Court bases its decision to dismiss Plaintiffs’ Count I on citations to Ypsilanti Cmty.

Utils. Auth. v. Meadwestvaco Air Sys., LLC, 678 F. Supp. 2d 553 (E.D. Mich. 2009), and Huron

Tool & Eng. Co. v. Precision Consulting Servs., Inc., 209 Mich. App. 365, 532 N.W.2d 541

(1995). (Dkt. 45, Order, pp. 3-5). The clear defect in the Court’s reasoning is that neither case

supports the propositions for which they are cited by the Court. First, although the Court states

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that “the situation [alleged by Plaintiffs] is much closer to Huron than to Ypsilanti,” (Dkt. 45, p.

5), Huron does not in fact contain any description of the alleged representations on which the

plaintiff in that case based its fraud in the inducement claim. The Huron opinion simply states

that “[t]he fraudulent representations alleged by plaintiff concern the quality and characteristics

of the software system sold by defendants,” without describing what those representations were.

Huron Tool, supra at 375. More importantly, the Huron court’s basis for dismissing the fraud in

the inducement claim was that “[t]hese representations are indistinguishable from the terms of

the contract and warranty that plaintiff alleges were breached,” not that the alleged

representations were not sufficiently “tangential” or not “completely independent” of the subject

matter of the parties’ contract, or that the fraud allegations of that plaintiff were “directly

relevant” to the provision of goods under the contract. Huron Tool, supra at 375 (emphasis

added); cf. Dkt. 45, Order, pp. 4-5.

       Nor did the Ypsilanti court uphold that plaintiff’s fraud in the inducement claim because

it found the seller’s misrepresentations to be “tangential” or “completely independent” of the

related contract’s subject matter. To the contrary, the Ypsilanti court summarized the facts

underlying the buyer’s fraud in the inducement claim as follows:

               Because the air ionization technology [for use in the buyer’s
               sewage treatment plant] was so new to [buyer], it was important to
               them that the company from whom they purchased the equipment
               had the financial and technical wherewithal to ensure that they
               could stick with the project and get it right. [Ypsilanti, supra at
               560] . . . . Given the explicit nature of the [seller’s] representations
               relating to financial strength, technological capabilities, and the
               depth of [its] reserves for guaranteeing performance of the . . .
               contract . . . such statements cannot be considered mere ‘puffery’
               or opinion.’” [Id. at 570 (emphasis added)].




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       The “involvement of a larger corporation” was not, as the Court’s Opinion states, viewed

by the Ypsilanti court as being “completely independent” of the subject matter of the contract.

Rather, the supposed “involvement of a larger corporation” capable of delivering advanced

technology was the prime factor which led the buyer in Ypsilanti to contract with the seller for

the delivery of this technology, and the seller suffered damages because this representation was

fraudulently made:

               [Seller] argues that the damages suffered by [buyer] flow not from
               the alleged fraud but from the non-conforming equipment . . . .
               [Seller] misses a fundamental point of [buyer’s] claim, i.e. that
               [buyer] would not have entered into the contract in the first
               instance had it known that [seller] was withdrawing. It may have
               decided to revert to [older] technology or it may have decided to
               go with . . . another supplier. In any case, [buyer] argues, it would
               not now be stuck with over $600,000 dollars worth of non-
               functioning equipment, a potentially uncollectible defendant and
               several years without the odor control [technology] it thought it
               had purchased.” [Id. at 570-71].

       In short, the Ypsilanti seller’s fraudulent representations caused harm precisely because

that seller misrepresented its ability to comply with the terms of the future contract in order to

induce the buyer to choose it as a supplier. Nowhere does the Ypsilanti opinion state that the

alleged involvement of a larger company was the deciding factor in its ruling; rather, the

involvement of the larger company was simply the particular misrepresentation of the “character

and quality of the contracting parties” which induced reliance in that case. Id., p. 567. Further,

the language of Ypsilanti makes clear that the fraud alleged by the plaintiff was “directly

relevant” to the provision of goods under the contract, but that fraud in the inducement

nevertheless remained a viable cause of action. If the Ypsilanti court had applied this Court’s

requirement that allegations of fraud be “tangential” or “completely independent” of

performance under the contract, the Ypsilanti decision would have gone the other way.

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         Rather than requiring allegations of fraud to be “tangential” to or “completely

independent” of the related contract, both Huron and Ypsilanti emphasize that claims for fraud in

the inducement are intended to provide redress in situations where “one party was tricked into

contracting” and “deprive[d] . . . of the ability to make an informed decision in choosing to enter

into the contract.” Huron, supra at 371; Ypsilanti, supra at 567. This definition makes clear that

fraud in the inducement, by its very nature, is “directly relevant” to the underlying contract. The

Court’s Order imposes much higher barriers to claims for fraud in the inducement than

envisioned in Ypsilanti and Huron. The Court should therefore reconsider its order dismissing

Plaintiffs’ claim for fraud in the inducement, and deny Konal’s Motion to the extent it seeks such

dismissal.

III.     THE ORDER OVERLOOKS THE ADDITIONAL AUTHORITIES CITED BY
         PLAINTIFFS, WHICH   CLEARLY    SHOW    THAT  ALLEGATIONS
         UNDERLYING CLAIMS FOR FRAUD IN THE INDUCEMENT NEED NOT BE
         “TANGENTIAL” TO OR “COMPLETELY INDEPENDENT” OF THE
         RELATED CONTRACT.

         The Order also overlooks the other authorities cited by Plaintiffs in support of their claim

for fraud in the inducement. Both Huber v. Crop Prod. Serv., Inc., No. 06-14564, 2007 WL

2746625 (E.D. Mich. Sept. 19, 2007) and Tramontana v. May, Nos. 02-10012, 02-10234, 2004

WL 539065 (E.D. Mich. Mar. 16, 2004) make clear that fraud in the inducement exists where

one party tricks the other into contracting with it, even if the fraudulent statements are “directly

relevant” to the subject matter of the contract.

         Both Huber and Tramontana involve contracts which sellers breached. The Eastern

District ruled in both cases that the buyers could bring claims for fraud in the inducement even

though their allegations were not “completely independent” of the sellers’ breaches of the

underlying contracts. For instance, in Huber, the seller performed soil analysis and used the

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results as a means of convincing the buyer that it needed the seller’s specialized fertilizer.

Huber, supra at *2 (unpublished cases collected at Ex. C). Subsequently, the seller delivered a

lower-quality fertilizer, and the buyer brought a claim for fraud in the inducement which alleged

that the seller had never been capable of delivering a product that conformed to its sales

representations. Id. at *6. The buyer’s claims in Tramontana bore even closer relation to the

underlying contract, because the buyer in that case alleged that the seller committed fraud in the

inducement by misrepresenting the price and quantity of pollen it would supply under a contract.

Tramontana, supra at *10-11.

       In both cases, the Eastern District ruled that the pre-contractual inducements to enter into

a contract supported claims for fraud in the inducement, because the buyers “relied on

recommendations that were distinct from the later execution of the contract” and were harmed by

“conduct [which] interfered with the conventional market forces in a manner that is beyond the

power of the law of contracts to protect.” Huber, supra at *6; Tramontana, supra at *12. This

reasoning is entirely consistent with Huron: “[f]raud in the inducement, however, addresses a

situation where the claim is that one party was tricked into contracting.” Huron, supra at 370

(citation omitted).

       Other opinions from this district further clarify that fraud in the inducement occurs where

the seller tricks the buyer into contracting by making false or reckless representations about its

abilities to perform under a contract. Groeb Farms, Inc. v. Alfred L. Wolff, Inc., 08-cv-14624,

2009 WL 500816 (E.D. Mich. Feb. 27, 2009) involved a contract requiring the seller to deliver

honey originating in India and Korea to the buyer, which the seller claimed it was capable of

doing in its sales pitches. Id. at *5 (Ex. C). The seller subsequently breached its contractual

obligations to provide this honey, and the buyer alleged that the seller had known it was

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incapable of honoring the contract even at the time of its sales pitches to the buyer. Id. The

court held that “[the seller’s] alleged misrepresentations do not merely ‘concern the quality and

characteristics of’ the honey to be supplied by it, . . . but rather have the independent harm of

potentially inducing [buyer] to enter into a contract with a party that knowingly and

intentionally made a promise it could not keep.” Id. (emphasis added).

       Another instructive case is Metropolitan Alloys Corp. v. Considar Metal Marketing, Inc.,

No. 06-12667, 2007 WL 2874005 (E.D. Mich. Sept. 25, 2007) (Ex. C). That case involved a

seller who orally promised to provide zinc to the buyer in adequate quantities to meet customer

needs, contingent upon the buyer’s receipt of a customer order. Id. at *2. After the buyer

received an order and thereby triggered the seller’s obligation to provide the zinc, the seller

refused to honor the agreement based on a change in market conditions. Id. The buyer sued the

seller for fraud in the inducement, and the court agreed that the buyer had properly stated this

claim: “[seller’s] alleged misrepresentations would not merely have ‘concerned the quality and

characteristics of’ the SHG zinc to be supplied by [seller] . . . but rather would have produced the

independent harm of inducing [buyer] to enter into a contract with a party that knowingly and

intentionally made a promise it could not keep. Accordingly, the Court finds that Plaintiff’s

allegations of fraud stand sufficiently apart from any alleged breach of a contractual obligation to

surmount the bar of the economic loss doctrine . . . .” Id. at *6.1

       Finally, in Mid-American Gunite, Inc. v. Sauereisen, Inc., No. 06-11204, 2006 WL

1374505 (E.D. Mich. May 19, 2006), the court dismissed a buyer’s fraud in the inducement
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  The Considar court also noted that “[i]t is of no moment . . . that [buyer] has explicitly asserted
a breach of contract claim . . . . Under familiar rules of pleading, a plaintiff may pursue two or
more theories of recovery in the alternative and ‘regardless of consistency.’ Fed. R. Civ. P.
8(e)(2).” Id. at *7. Thus, the fact that Plaintiffs have also alleged facts in support of their breach
of warranty claims does not undermine their ability to pursue a claim for fraud in the
inducement.
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claim because it found that the buyer had not pleaded that the seller “misrepresented its

qualifications to sell the product,” but only alleged that the quality and character of the goods

delivered were not as warranted. Id. at *2 (Ex. C). The clear implication of this holding is that if

the buyer had pleaded that the seller misrepresented its abilities to supply the product, the

plaintiff would have stated a claim for fraud in the inducement.

       Under this Court’s requirement that allegations of fraud in the inducement must be

“tangential” to, “completely independent” of, or not “directly relevant” to performance under the

contract, none of the courts cited above would have found that the respective plaintiffs had stated

claims for fraud in the inducement.     In each of these cases, the seller convinced the buyer to

enter into a contract by recklessly or intentionally misrepresenting its ability to perform. The

seller then not only breached the contract, but did so under circumstances which made clear that

its pre-contractual representations were fraudulent. As emphasized in Huron, “[f]raud in the

inducement presents a special situation where parties to a contract appear to negotiate freely –

which normally would constitute grounds for invoking the economic loss doctrine – but where in

fact that ability of one party to negotiate fair terms and make an informed decision is undermined

by the other party’s fraudulent behavior.” Huron, supra at 373-74. The Order fails to consider

this well-established basis for claims for fraud in the inducement. The Court should therefore

reconsider its dismissal of Plaintiffs’ Count I, and enter an order denying Konal’s request to

dismiss Plaintiffs’ claim for fraud in the inducement.




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IV.     IN THE ABSENCE OF ORAL ARGUMENT ON THE ISSUE, THE COURT WAS
        MISLED BY KONAL’S MISREPRESENTATIONS OF PLAINTIFFS’ FRAUD
        ALLEGATIONS.

        The Court’s determination that Plaintiffs’ allegations of Konal’s pre-contractual

misrepresentations all related to the character and quality of System One and System Two

indicates that the Court was misled by Konal’s mischaracterization of Plaintiffs’ allegations.

Konal’s reply brief attempts to recast all of Plaintiffs’ statements regarding Konal’s fraudulent

sales presentations as “[a]llegations [which] go to the quality and performance of the goods that

would be manufactured by Konal.”          (Dkt. 19, pp. 4-5).    For instance, Konal claims that

paragraph 13 of the Complaint relates to the performance of the goods manufactured by Konal

and is therefore a warranty claim, when paragraph 13 actually alleges that Konal personnel

“repeatedly mentioned to ACH that they were aware of the serious difficulties ACH had

encountered with one of its prior suppliers of machinery for making instrument panels. [Konal

representatives] assured ACH that unlike this prior supplier, Konal was a competent

manufacturer and would not cause ACH the pervasive problems ACH had experienced with this

prior supplier.”   (Dkt. 1, Compl., ¶ 13).     By its express text, this allegation says nothing

whatsoever about the as-warranted characteristics of System One or System Two; it alleges that

Konal’s employees generally represented that Konal was a better, more reliable supplier than a

prior ACH supplier, with the intent of inducing ACH to contract with Konal.

        Even more misleadingly, Konal’s “summary” conflates all of Plaintiffs’ allegations,

making it appear that Plaintiffs’ general factual allegations were all made solely in support of

Plaintiffs’ claim for fraud in the inducement. Every one of the paragraphs “summarized” by

Konal in its reply brief is contained in the “General Allegations” section of Plaintiffs’ Complaint.

See Dkt. 1, ¶¶ 3-22. In light of Plaintiffs’ ability to plead their claims alternatively, as provided

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by Fed. R. Civ. P. 8(e)(2), it is inappropriate for Konal to assert that Plaintiffs’ general factual

allegations must all be construed as made in support of one count of the Complaint.

       Plaintiffs were prepared to highlight these misrepresentations to the Court during oral

argument on August 21, 2012. Based on the Court’s direction of oral argument at that hearing,

Plaintiffs were unable to do so. Unfortunately, this appears to have resulted in the Court being

misled by Konal’s misstatements of Plaintiffs’ allegations.          The Court should therefore

reconsider its Order dismissing Plaintiffs’ claim for fraud in the inducement.

V.     AT THE COURT’S DIRECTION, PLAINTIFFS HAVE PREPARED
       ADDITIONAL DOCUMENTATION IN SUPPORT OF THEIR FRAUD IN THE
       INDUCEMENT CLAIM, WHICH THE COURT DID NOT CONSIDER PRIOR
       TO ISSUING ITS ORDER.

       In issuing its Order dismissing Plaintiffs’ fraud in the inducement claim, the Court did

not consider the marked-up version of Konal’s sales presentation which the Court had directed

Plaintiffs’ counsel to prepare. This presentation makes clear that numerous aspects of Konal’s

pre-contractual representations to ACH had nothing to do with the quality or characteristics of

System One and System Two, and thus support claims for fraud in the inducement even under

the Court’s narrow view of that doctrine:

Page                                               Factual Representation

4                                                  Konal’s experience providing machinery for
                                                   manufacturing “instrument panels, doors systems,
                                                   steering wheels lines, headrests and HIC foam,
                                                   headliner systems, seating lines, carpet/flooring,
                                                   dashes insulators [and] silencers.”
5                                                  Konal’s ability to provide “engineering and
                                                   innovation” in manufacturing “PU foam,
                                                   thermoforming, carpet systems, PVC, TPU, TPO
                                                   slush/casting, PU spray, silencers, insulators,
                                                   steering wheels, [and] PU injection.”
10                                                 Describing “other technologies we offer” as “spray
                                                   PU, headliner systems, carpet forming, press
                                                   bonding, vacuum forming, back foaming, injection

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                                                   PU, pierce die press systems, assembly automation
                                                   [and] aluminum cast tooling.”
11                                                 “Complete Konal In-house Product Offering” for
                                                   its machinery, including “engineering, tool
                                                   handling system, PU delivery, PU spray systems,
                                                   Slush systems, in-mould coating systems, mold
                                                   release delivery, seating lines, presses, tools,
                                                   integration      and     controls,     manufacturing,
                                                   installation, start-up assistance, process assistance,
                                                   [and] post installation service.”
13                                                 Konal’s ability to provide a “dedicated program
                                                   manager” for “single point contact, electronic
                                                   messaging/project status, online design retrieval,
                                                   product definition, project timing/tracking, cost
                                                   tracking, [and] customer satisfaction.”
27-28                                              Konal’s “experienced double slush systems” for
                                                   two-tone interiors, capabilities which ACH did not
                                                   ask Konal to provide in System One or System
                                                   Two.
40                                                 “Customer reported tool life, 210,000 cycles and
                                                   counting!” with respect to other machines
                                                   manufactured by Konal: “no cracks, no
                                                   refurbishing, no welding, no CHANGES from day
                                                   1.” [emphasis in original]


        Plaintiffs designated each of these representations as statements of alleged fact by Konal.

(Ex. B).   These representations of Konal’s comprehensive engineering experience are only

“directly relevant” to System One and System Two to the extent that they highlight Konal’s

purported qualifications to design, build, and assist in operating complex industrial machinery,

i.e. “the character and quality of the contracting part[y]” rather than the specific goods to be

produced. See Dkt. 45, quoting Ypsilanti, supra at 567. As Ypsilanti and the other cases cited

above make clear, it is precisely these types of representations which give rise to claims for fraud

in the inducement if they are recklessly or intentionally false when made.

        Nor could any of these representations have been incorporated into the purchase orders

and engineering specifications issued by ACH to Konal, by warranty or otherwise.                   First,

although Konal’s representations of its experience are directly relevant to its ability to
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manufacture suitable cast skin systems for Plaintiffs, they do not relate to any aspect of System

One or System Two themselves. Rather, they relate to Konal’s supposed qualifications to

provide Plaintiffs with any type of sophisticated industrial machinery. Second, it would have

been futile for Plaintiffs to require Konal to contractually promise that it had not misrepresented

its organizational abilities during its sales pitches; as recognized in Huron, fraud in the

inducement exists as a cause of action because “the ability of one party to negotiate fair terms

and make an informed decision is undermined by the other party’s fraudulent behavior” in the

first place. Huron, supra at 373. Konal’s fraudulent sales pitches had this exact effect on

Plaintiffs’ decision to source Konal as a supplier. As a result, the Court should reconsider its

dismissal of Plaintiffs’ claims for fraud in the inducement, and enter an order denying Konal’s

Motion to dismiss this claim.

                         CONCLUSION AND RELIEF REQUESTED

       For the forgoing reasons, Plaintiffs respectfully request that the Court grant their Motion

for Reconsideration, enter an order denying Konal’s Motion to the extent it seeks dismissal of

Count I of Plaintiffs’ Complaint, and grant such other and further relief as the Court deems

appropriate and just.



Date: October 30, 2012                            Respectfully submitted,




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 30, 2012, I electronically filed the foregoing paper with

the Clerk of the Court using the ECF System, which will send notification of such filing to all

ECF users.


                                                     DYKEMA GOSSETT PLLC


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